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  January 4, 2024

  Honorable Rukhsanah L. Singh, U.S.M.J.
  United States District Court
  Clarkson S. Fisher Building & US Courthouse
  402 East State Street
  Trenton, NJ 08608

  Re:        Johnson & Johnson Talcum Powder Products, Marketing, Sales Practices and Products
             Liability Litigation
             Case No.: 3:16-md-02738-MAS-RLS

  Dear Judge Singh,

  I am writing to request leave of Court for defendants to file a ten-page reply in support of their
  Motion to Strike Plaintiffs' Improper Supplemental Reports. (ECF No. 28798.) Plaintiffs' response
  (ECF No. 28857) raises a number of arguments that defendants seek to address, including their
  claim that their new experts and "supplemental" opinions are justified by defendants' bankruptcy
  petitions and their suggestion that any prejudice from these late disclosures "can easily be cured."
  A reply would ensure that the Court has critical information necessary to resolve the present
  dispute regarding the propriety of plaintiffs' expert disclosures.

  Because defendants' motion has been set for hearing on January 16, defendants propose that if
  the Court grants them leave to file a reply, the reply would be filed by January 9.

  Respectfully submitted,




  Susan M. Sharko



  SMS/emf

  cc:       All Counsel (via ECF)



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